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                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                            Case # 3:08cr61-010/LAC

RODRICK SLACK
a/k/a “Rat”
                                                                USM # 07005-017

                                                                Defendant’s Attorney:
                                                                John L. Wilkins (Appointed)
                                                                221 East Government Street
                                                                Pensacola, Florida 32502
___________________________________

                                       JUDGMENT IN A CRIMINAL CASE

The defendant was found guilty on Count One of the Superceding Indictment on September 17,
2008. Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such count(s) which
involve(s) the following offense(s):

     TITLE/SECTION                                  NATURE OF                     DATE OFFENSE
        NUM BER                                      OFFENSE                       CONC LUDED     COUNT

 21 U.S.C. §§                   Co nsp iracy to D istribute and Pos ses s with     July 3, 2008     One
 841(a)(1), (b )(1)(A )(ii)     Intent to Distribute 5 Kilogram s or Mo re of a
 and (iii) and 846              Mixture and Substance Containing a
                                Detectable Amount of Cocaine and 50 Grams
                                or More of a Mixture and Substance
                                Containing Cocaine Base
The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                                Date of Imposition of Sentence:
                                                                December 9, 2008


                                                                s /L.A. Collier
                                                                LACEY A. COLLIER
                                                                SENIOR UNITED STATES DISTRICT JUDGE

                                                                Date Signed: December 12, 2008
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                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 444 months as to Count One.

The defendant is remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                       UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
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                                             SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 10
years as to Count One.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime and shall not possess a
firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       the defendant sh all not leave the ju dicial district without the permission of the court or probation
         officer;

2.       the defendant shall report to the probation officer and shall submit a truthful and complete written
         report within the first five days of each month;

3.       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       the defendant shall support his or her dependents and meet other family responsibilities;

5.       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       the defendant sh all notify the probation officer at least 10 days prior to any change in residence or
         em ploym ent;

7.       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       the defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       the defe nda nt shall not as soc iate with any pe rsons e nga ged in crim inal activity and sh all not as soc iate
         with any person convicted of a felony unless gran ted perm ission to do so by the probation officer;
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10.      the defendant sh all perm it a probation officer to visit him or her at any time at home or elsewhere and
         shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.      the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
         law enforcem ent officer;

12.      the defe nda nt shall not en ter into a ny agreem ent to act as an informer or a special agent of a law
         enforcement agency without the permission of the court; and

13.      as directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s criminal record or personal history or c haracte ristics and shall perm it
         the probation officer to mak e such notifications and to confirm the defendant’s compliance with such
         notifica tion req uirem ent.

14.      if this judgme nt impos es a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with th e Schedule of P aym ents s et forth in
         the C rim inal Mone tary Penalties she et of this judg m ent.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

         Any unpaid fine balance shall be paid in monthly installments of not less than $25 to
         commence within 3 months of the defendant’s release from custody.

         The defendant shall be evaluated for substance abuse and referred to treatment as
         determined necessary through an evaluation process. The defendant may be tested for the
         presence of illegal controlled substances of alcohol at any time during the term of
         supervision.
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Upon a finding of a violation of probation or supervised release, I understand the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.

These conditions have been read to me. I fully understand the conditions and have been provided
a copy of them.




         Defendant                                                        Date




         U.S. Probation Officer/Designated Witness                        Date
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                                    CRIMINAL MONETARY PENALTIES


All criminal monetary penalty payments, except those payments made through the Bureau of
Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District Court,
unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S. District
Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments can
be made in the form of cash if paid in person.

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest on
any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                 Restitution

               $100.00                                      $1,770                    $0.00




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed.

                                                            FINE

A fine in the amount of $1,770 is imposed.

No restitution imposed.
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                                          SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; and (7)
penalties in full immediately.

Breakdown of fine and other criminal penalties is as follows:

         Fine: $1,770.00 SMA: $100.00

The $100.00 monetary assessment shall be paid immediately. Any payments of the monetary
assessment and the fine made while the defendant is incarcerated shall be made through the
Bureau of Prisons’ Inmate Financial Responsibility Program. The remaining balance shall be paid
as follows: In monthly installments of not less than $25 to commence within 3 months of the
defendant’s release from custody.

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the amount
due. The defendant will receive credit for all payments previously made toward any criminal
monetary penalties imposed.
